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                                       United States Bankruptcy Court
                                       Southern District of Florida
In re:                                                                                  Case No. 19-24331-PGH
Ralph Levi Sanders, Jr.                                                                 Chapter 13
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 113C-0           User: banoovong              Page 1 of 2                   Date Rcvd: May 21, 2020
                               Form ID: CGFD26              Total Noticed: 29


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 23, 2020.
db             +Ralph Levi Sanders, Jr.,    561 SW 60 Ave.,    Plantation, FL 33317-3947
cr             +Specialized Loan Servicing LLC,    c/o Gavin Stewart,     POB 5703,    Clearwater, FL 33758-5703
95383266       +ARS/Account Resolution Specialist,     POB 459079,    Sunrise, FL 33345-9079
95383265       +Albertelli Law,   POB 23028,    Tampa, FL 33623-2028
95383267      ++CITIBANK,   PO BOX 790034,    ST LOUIS MO 63179-0034
               (address filed with court: Citibank,      Attn.: Centralized Bankruptcy,      POB 20507,
                 Kansas City, MO 64195)
95383268       +City of Plantation,    POB 918557,    Orlando, FL 32891-0001
95432854       +City of Plantation Code Enforcement,     451 NW 70 Ter.,    Plantation, FL 33317-2239
95383269       +Dept of Treasury,     3700 East West Highway,     Hyattsville, MD 20782-2092
95383270       +Dr. Ramsey Pevsner,    7469 NW 4 St.,    Plantation, FL 33317-2216
95383272       +IC Systems, Inc,    Attention: Bankruptcy,    POB 64378,    St Paul, MN 55164-0378
95383273       +Inphynet South Broward, Inc.,    POB 740022,     Cincinnati, OH 45274-0022
95383276       +MD Now Medical Center,    2007 Palm Beach Lakes Blvd,     West Palm Beach, FL 33409-6501
95383275       +Marchelle Bailey, Esq.,    Special Assistant US Attorney,     200 W. Santa Ana Blvd., #180,
                 Santa Ana, CA 92701-4134
95383277       +Medical Data Systems (MDS),    2001 9th Ave., #312,     Vero Beach, FL 32960-6413
95383278       +Memorial Physicians Group,    POB 58015,    Raleigh, NC 27658-8015
95432853       +Sprechman & Associates, P.A.,    2775 Sunny Isles Blvd., #100,      Miami, FL 33160-4078
95383282       +Tenet Florida Physicians Service,     POB 100198,    Atlanta, GA 30384-0198
95553088       +The Bank of New York Mellon Trustee (See 410),      c/o Specialized Loan Servicing LLC,
                 8742 Lucent Blvd, Suite 300,    Highlands Ranch, Colorado 80129-2386
95627934       +U.S. Small Business Administration,     200 W. Santa Ana Blvd., Suite 740,
                 Santa Ana, CA 92701-7534
95392159       +WESTSIDE REGIONAL MEDICAL CENTER,     Resurgent Capital Services,     PO Box 1927,
                 Greenville, SC 29602-1927
95383283       +Wells Fargo Bank, N.A.,    1000 Blue Gentian Rd.,     N9286-01Y,    Eagan, MN 55121-1663
95383284       +Westside Regional Medical Center,     POB 99008,    Bedford, TX 76095-9108

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: swulfekuhle@broward.org May 22 2020 02:52:01       Broward County Tax Collector,
                 115 S Andrews Ave,   Ft Lauderdale, FL 33301-1818
smg             E-mail/Text: OGCBankruptcy@floridarevenue.com May 22 2020 02:51:40
                 Florida Department of Revenue,    POB 6668,    Bankruptcy Division,
                 Tallahassee, FL 32314-6668
95383271       +E-mail/Text: bankruptcy@flagshipcredit.com May 22 2020 02:53:44        Flagship Credit Acceptance,
                 POB 965,   Chadds Ford, PA 19317-0643
95383274        E-mail/Text: sbse.cio.bnc.mail@irs.gov May 22 2020 02:52:41       IRS,
                 Centralized Insolvency Operations,    POB 7346,    Philadelphia, PA 19101-7346
95383279       +E-mail/Text: bankruptcydpt@mcmcg.com May 22 2020 02:53:27       Midland Funding,
                 8875 Aero Dr., #200,   San Diego, CA 92123-2255
95383280       +E-mail/PDF: resurgentbknotifications@resurgent.com May 22 2020 02:49:51
                 Resurgent Capital Services,    POB 1927,    Greenville, SC 29602-1927
95383281       +E-mail/Text: birminghamtops@sba.gov May 22 2020 02:53:59       Small Business Administration,
                 801 Tom Martin Dr., #120,   Birmingham, AL 35211-6424
                                                                                               TOTAL: 7

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
95432858*       +ARS/Account Resolution Specialist,     POB 459079,    Sunrise, FL 33345-9079
95432857*       +Albertelli Law,   POB 23028,    Tampa, FL 33623-2028
95432859*      ++CITIBANK,   PO BOX 790034,    ST LOUIS MO 63179-0034
                (address filed with court: Citibank,      Attn.: Centralized Bankruptcy,      POB 20507,
                  Kansas City, MO 64195)
95432860*       +City of Plantation,    POB 918557,    Orlando, FL 32891-0001
95432861*       +City of Plantation Code Enforcement,     451 NW 70 Ter.,    Plantation, FL 33317-2239
95432862*       +Dept of Treasury,     3700 East West Highway,     Hyattsville, MD 20782-2092
95432863*       +Dr. Ramsey Pevsner,    7469 NW 4 St.,    Plantation, FL 33317-2216
95432864*       +Flagship Credit Acceptance,    POB 965,    Chadds Ford, PA 19317-0643
95432865*       +IC Systems, Inc,    Attention: Bankruptcy,    POB 64378,    St Paul, MN 55164-0378
95432867*        IRS,   Centralized Insolvency Operations,     POB 7346,    Philadelphia, PA 19101-7346
95432866*       +Inphynet South Broward, Inc.,    POB 740022,     Cincinnati, OH 45274-0022
95432869*       +MD Now Medical Center,    2007 Palm Beach Lakes Blvd,     West Palm Beach, FL 33409-6501
95432868*       +Marchelle Bailey, Esq.,    Special Assistant US Attorney,     200 W. Santa Ana Blvd., #180,
                  Santa Ana, CA 92701-4134
95432870*       +Medical Data Systems (MDS),    2001 9th Ave., #312,     Vero Beach, FL 32960-6413
95432871*       +Memorial Physicians Group,    POB 58015,    Raleigh, NC 27658-8015
95432852*       +Midland Funding,    8875 Aero Dr., #200,    San Diego, CA 92123-2255
95432872*       +Midland Funding,    8875 Aero Dr., #200,    San Diego, CA 92123-2255
95432873*       +Resurgent Capital Services,    POB 1927,    Greenville, SC 29602-1927
95432874*       +Small Business Administration,     801 Tom Martin Dr., #120,     Birmingham, AL 35211-6424
95432875*       +Sprechman & Associates, P.A.,    2775 Sunny Isles Blvd., #100,      Miami, FL 33160-4078
95432876*       +Tenet Florida Physicians Service,     POB 100198,    Atlanta, GA 30384-0198
95432877*       +Wells Fargo Bank, N.A.,    1000 Blue Gentian Rd.,     N9286-01Y,    Eagan, MN 55121-1663
95432878*       +Westside Regional Medical Center,     POB 99008,    Bedford, TX 76095-9108
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                                      Form ID: CGFD26                    Total Noticed: 29


             ***** BYPASSED RECIPIENTS (continued) *****
                                                                                                                   TOTALS: 0, * 23, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 23, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 21, 2020 at the address(es) listed below:
              Gavin N Stewart    on behalf of Creditor   Specialized Loan Servicing LLC bk@stewartlegalgroup.com
              Michael H. Johnson    on behalf of Debtor Ralph Levi Sanders, Jr. info@attorneydebthelper.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Robin R Weiner   ecf@ch13weiner.com, ecf2@ch13weiner.com
                                                                                             TOTAL: 4
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CGFD26 (4/23/19)




ORDERED in the Southern District of Florida on May 21, 2020




                                                                                                  Paul G. Hyman, Jr.
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                Case Number: 19−24331−PGH
                                                                                                                Chapter: 13
In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Ralph Levi Sanders Jr.
561 SW 60 Ave.
Plantation, FL 33317

SSN: xxx−xx−6171




                                            ORDER CONFIRMING CHAPTER 13 PLAN


      This cause came before the court on 5/4/2020 for confirmation of the debtor's proposed Third
Amended chapter 13 plan pursuant to Local Rule 3015−3(B)(2). Based on the record, including the
debtor's "Certificate of Compliance and Request for Confirmation on Chapter 13 Plan", it is
ORDERED as follows:

     1. The debtor's chapter 13 plan (the "Plan") meets with the provisions of 11 U.S.C. § 1325 and, if
        applicable, § 521 and 1308, and is, therefore, confirmed in accordance with its terms.

 2. Any claim entitled to priority under 11 U.S.C. § 507 shall be paid in full, in periodic installments, in
     the order of priority prescribed by the Bankruptcy Code over the period of the Plan as required by 11
     U.S.C. § 1322(a)(2), with postpetition interest as required by 11 U.S.C. § 506(b) payable on the
     secured portion of the claim.
__________________________
 1
     All references to "Debtor" shall include and refer to both Debtors in a case filed jointly by two individuals.




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3. The debtor's first monthly payment to the Trustee under the Plan was required to commence not
   later than 30 days following October 25, 2019, the date the petition was filed, or within 30 days from
   the date of conversion to chapter 13. The Trustee shall begin disbursement to creditors pursuant to
   the Plan as soon as practicable upon entry of this order.

4. If the Plan does not provide for payments to a secured creditor, the Plan provides for surrender of
   the property secured by the secured creditor's claim or the Plan provides for direct payment of the
   secured creditor's claim outside of the Plan, such creditor is granted in rem stay relief to pursue
   available state court remedies against any property of the debtor which secures the creditor's claim.
   The filing of a Motion to Modify a Plan does not operate as a stay of any action against property of
   the debtor which is not subject to the automatic stay absent further order of the court.

5. Any executory contract or unexpired lease of the debtor which has not been assumed pursuant to
   court order prior to entry of this order, or which is not assumed in the Plan confirmed by this order, is
   deemed rejected upon entry of this order.

6. If the confirmed plan in this case provides for payment to holder(s) of tax certificates on property of
   the debtor, the following provisions shall apply:

          A. To ensure that the records of the County Tax Collector credit amounts received by
             certificate holders, upon receipt of information pursuant to subparagraph B below, the
             Tax Collector is ordered to adjust the County tax records and reduce both the amount
             owed on tax certificates and the amount of the tax lien to reflect payments made by the
             Chapter 13 Trustee to certificate holders under the confirmed plan.

          B. The Tax Collector shall be served with any order entered post−confirmation which (a)
             dismisses or converts this case; (b) grants stay relief to the holder of a secured claim on
             the property subject to the tax certificates; (c) approves a sale or refinancing of the
             property subject to the tax certificates; (d) modifies the plan to eliminate further payments
             to one or more certificate holders; or (e) discharges the debtor upon completion of the
             plan. Upon receipt of any such order, the Tax Collector shall request a ledger from the
             Chapter 13 Trustee reflecting the amounts paid to certificate holders under the confirmed
             plan, or obtain the ledger information by accessing the Chapter 13 Trustee's website.

          C. During the period in which the certificate holders are receiving payments under the
             confirmed plan, unless otherwise ordered, the Tax Collector is enjoined from accepting a
             redemption payment for any certificate which is included in the plan. This injunction will
             dissolve without further order of the Court if (a) one of the orders described in
             subparagraph B is entered; and (b) the County has complied with the requirements in
             subparagraph A by reducing both the amount owed on any certificate paid or partially
             paid under the plan and the amount of the tax lien by the amount paid to the certificate
             holder as reflected in the Chapter 13 Trustee's ledger.

7. Pursuant to Local Rule 3070−1(C)(2), if the debtor fails to timely make any Plan payment to the
   Trustee, the Trustee may serve a "Notice of Delinquency" upon the debtor and the debtor's attorney.
   The debtor shall have 45 days from the date of the "Notice of Delinquency" to make all payments
   due under the Plan, including any payments that become due within the 45−day period. If the debtor
   is seeking to cure the delinquency in a modified plan the debtor must file a motion to modify the
   confirmed plan within 14 days of the date of the "Notice of Delinquency". If the debtor is not current
   with plan payments on the 45th day after the date of the "Notice of Delinquency", the Trustee shall
   file and serve a report of non−compliance and the case will be dismissed without further notice or
   hearing. The court will not extend these deadlines absent extraordinary circumstances.


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  8. To the extent the Plan sought a determination of valuation pursuant to Bankruptcy Rule 3012, and
     no objections were filed or any objections were resolved, the terms of the Plan will be binding upon
     the affected secured creditors, and any allowed proof of claim will be secured only to the extent of
     the value as provided for in the Plan and unsecured as to the balance of the claim.

  9. Nonstandard provisions must be set forth in Paragraph VIII of the Plan being confirmed.
     Nonstandard provisions set forth elsewhere in the Plan are void.



The clerk shall serve a copy of this order on all parties of record.




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